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l                       UNITED STATES DISTRICT COURT
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                       SOUTHERN DISTRICT OF FLORIDA                           JCJL 2? 2222
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     06-29-2020

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                         CERTIFICATE OF SERVICE


     1,Joseph Harvey servicecopiesofthesepleadingsto allrevelantpartieson 06- 29-2020,
     by 1stclassUS mail.



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